Case 2:05-Cv-02173-.]PI\/|-tmp Document 16 Filed 07/05/05 P*age 1 of 2 Page D 9

FH.ED B¥ D.O.
UNITED STATES DISTRICT COUR

WESTERN DISTRICT OF TENNESSHEJL'SPH$\S

 

wEsTERN DIvIsIoN MM'M
G£Hu.s.§jmmm
ARTICE JEAN RUFFIN, JUDGMENT IN A CIVIL CASE

Plaintiff,
v.
JO ANNE B. BARNHART,
Commissioner of Social

security, cAsE No: 05-2173 Mi/P

Dafendant .

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Granting Motion for Entry of Judgment Under 42
U.S.C. § 405(g) With Remand of the Cause to the Defendant, filed
July _{_, 2005, this case is DISMISSED.

APPROVED:

swth

JO P. MCCALLA
U TED STATES DISTRICT COURT

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(Eat U ' Clerk of Court

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{By) VDeplfi§ ClerkU

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wlth Ru|e 58 andlor 79(a) FRCP on 2 'é 'Q

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CV-02173 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

